Case 0:22-cv-61147-WPD Document 100 Entered on FLSD Docket 10/24/2024 Page 1 of 10




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION


     DR. TERRY RZEPKOSKI and KRISTEN                  Case No. 0:22-cv-61147-WPD
     ASSELTA, on behalf of Nova University
     Defined Contribution Plan, individually and
     on behalf of all others similarly situated,

                   Plaintiffs,

                   v.

     NOVA SOUTHEASTERN UNIVERSITY,

                   Defendant.


         ORDER PRELIMINARILY APPROVING CLASS ACTION SETTLEMENT

          Currently before the Court for preliminary approval is a Settlement (the

   “Settlement”) of this class action (the “Action”) wherein Plaintiffs Dr. Terry Rzepkoski

   and Kristen Asselta (collectively “Plaintiffs”) have asserted claims for alleged violations

   of the Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. § 1001,

   et seq. (“ERISA”), with respect to the Nova University Defined Contribution Plan (the

   “Plan”) against Nova Southeastern University (“Defendant”).

          The terms of the Settlement are set out in a Class Action Settlement Agreement

   executed on October 18, 2024 (the “Settlement Agreement”). Capitalized terms not

   otherwise defined in this Order shall have the same meaning as ascribed to them in the

   Settlement Agreement. The “Settlement Class” is defined in this Order below.

          Having considered Plaintiffs’ Unopposed Motion for Preliminary Approval of
Case 0:22-cv-61147-WPD Document 100 Entered on FLSD Docket 10/24/2024 Page 2 of 10




   Proposed Settlement [DE 99] and the Settlement Agreement attached thereto in order to

   determine, among other things, whether the Settlement is sufficient to warrant the

   issuance of notice to members of the proposed Settlement Class, it is hereby ORDERED

   AND ADJUDGED as follows:

          Jurisdiction. The Court has jurisdiction over the subject matter of this Action and

   over all Parties to this Action, including all Members of the Settlement Class.

          Class Findings. The Court preliminarily finds, for purposes of the Settlement, that

   the requirements of the Federal Rules of Civil Procedure, the United States Constitution,

   the Local Rules of Civil Procedure for the Southern District of Florida, and any other

   applicable law have been met as to the Settlement Class, in that:

          (a)    The Settlement Class is ascertainable and the Members of the Settlement
                 Class are so numerous that their joinder before the Court would be
                 impracticable.

          (b)    The Court preliminarily finds that there are one or more questions of fact
                 and/or law common to the Settlement Class.

          (c)    The Court preliminarily finds that the claims of Plaintiffs are typical of the
                 claims of the Settlement Class.

          (d)    Plaintiffs will fairly and adequately protect the interests of the Settlement
                 Class in that: (i) the interests of Plaintiffs and the nature of their alleged
                 claims are consistent with those of the Members of the Settlement Class;
                 (ii) there are no significant conflicts between or among Plaintiffs and the
                 Settlement Class; and (iii) Plaintiffs are represented by qualified, reputable
                 counsel who are experienced in preparing and prosecuting ERISA class
                 actions of this type.

          (e)    The prosecution of separate actions by individual Members of the
                 Settlement Class would create a risk of: (i) inconsistent or varying
                 adjudications as to individual class members, that would establish
                 incompatible standards of conduct for the parties opposing the claims
                 asserted in the Action; or (ii) adjudications as to individual class members


                                           Page 2 of 10
Case 0:22-cv-61147-WPD Document 100 Entered on FLSD Docket 10/24/2024 Page 3 of 10




                 that would, as a practical matter, be dispositive of the interests of the other
                 members not parties to the adjudications, or substantially impair or impede
                 those persons’ ability to protect their interests.

          Class Certification. Based on the findings set out above, the Court

   PRELIMINARILY CERTIFIES the following Settlement Class for settlement

   purposes under Federal Rule of Civil Procedure 23(b)(1) in this litigation (hereinafter the

   “Settlement Class”):

                 All persons who were participants or beneficiaries of the Plan
                 at any time during the Class Period.

          The “Class Period” shall be defined as April 1, 2016 through September 30, 2024.

   A person was a participant in or beneficiary of the Plan during the Class Period if they

   had an account balance in the Plan during such period.

          The Court finds that Wenzel Fenton Cabassa, P.A., and McKay Law, LLC, have

   and will continue to represent fairly and adequately the interests of the Settlement Class.

   Accordingly, pursuant to Federal Rule of Civil Procedure 23(g)(2) the Court designates:

   Wenzel Fenton Cabassa, P.A. and McKay Law, LLC as Class Counsel with respect to the

   Settlement Class in this Action.

          The Court finds that Plaintiffs are adequate and typical class representatives for

   the Settlement Class and, therefore, hereby appoints them as the representatives of the

   Settlement Class.

          The Court finds this Action may proceed as a non-opt out class action under Fed.

   R. Civ. P. 23(a) and 23(b)(1). Members of the Settlement Class shall be bound by any

   judgment concerning the Settlement in this Action, subject to the Court’s final



                                            Page 3 of 10
Case 0:22-cv-61147-WPD Document 100 Entered on FLSD Docket 10/24/2024 Page 4 of 10




   determination as to whether this Action may so proceed.

             Preliminary Approval of Settlement. The Settlement documented in the

   Settlement Agreement is hereby PRELIMINARILY APPROVED, as the Court

   preliminarily finds that: (a) the proposed Settlement resulted from arm’s-length

   negotiations; (b) the Settlement Agreement was executed only after Class Counsel had

   researched and investigated multiple legal and factual issues pertaining to Plaintiffs’

   claims; (c) there is a genuine controversy between the Parties involving Defendant’s

   compliance with the fiduciary requirements of ERISA; (d) the Settlement appears on its

   face to be fair, reasonable, and adequate; and (e) the Settlement evidenced by the

   Settlement Agreement is sufficiently fair, reasonable, and adequate to warrant sending

   notice of the Action and the Settlement to the Settlement Class.

             Final Fairness Hearing. A hearing (the “Final Fairness Hearing”) pursuant to

   Fed. R. Civ. P. 23(e) is hereby SCHEDULED to be held before the Court on Friday,

   February 28, 2025, at 10:30 am. at the U.S. District Court, 299 E. Broward Blvd.,

   Courtroom 205B, Fort Lauderdale, Florida 33301 to determine finally, among other

   things:

             (a)   Whether the Settlement should be approved as fair, reasonable, and
                   adequate;

             (b)   Whether the Settlement Class satisfies the requirements of Fed. R. Civ. P.
                   23, and should be finally certified as preliminarily found by the Court;

             (c)   Whether the litigation should be dismissed with prejudice pursuant to the
                   terms of the Settlement Agreement;

             (d)   Whether the Final Approval Order attached to the Stipulation should be
                   entered and whether the Releasees should be released of and from the


                                            Page 4 of 10
Case 0:22-cv-61147-WPD Document 100 Entered on FLSD Docket 10/24/2024 Page 5 of 10




                 Released Claims, as provided in the Settlement Agreement;

          (e)    Whether the notice and notice methodology implemented pursuant to the
                 Settlement Agreement (i) were reasonably calculated, under the
                 circumstances, to apprise Members of the Settlement Class of the pendency
                 of the litigation, their right to object to the Settlement, and their right to
                 appear at the Final Fairness Hearing; (ii) were reasonable and constituted
                 due, adequate, and sufficient notice to all persons entitled to notice; and (iii)
                 met all applicable requirements of the Federal Rules of Civil Procedure, and
                 any other applicable law; (f) Whether Class Counsel adequately represents
                 the Settlement Class for purposes of entering into and implementing the
                 Settlement Agreement as required by Fed. R. Civ. P. 23(g) and as
                 preliminarily found by the Court;

          (g)    Whether the proposed Plan of Allocation of the Net Settlement Amount is
                 fair, reasonable, and adequate and should be approved by the Court;

          (h)    Whether the Settlement has been negotiated at arm’s length by Class
                 Counsel on behalf of the Plan and the Settlement Class, whether Plaintiffs
                 have acted independently, whether Plaintiffs’ interests are identical to the
                 interests of the Plan and the Settlement Class, and whether the negotiations
                 and consummation of the Settlement by Plaintiffs on behalf of the Plan and
                 the Settlement Class does not constitute “prohibited transactions” as
                 defined by ERISA §§ 406(a) or (b) and/or qualify for a class exemption
                 from the prohibited transaction rules, including Prohibited     Transaction
                 Exemption 2003-39;

          (i)    Whether the application for attorneys’ fees and expenses to be filed by Class
                 Counsel should be approved; and


          (j)    Any other issues necessary for approval of the Settlement.

          Class Notice. The Parties have presented to the Court a proposed Class Notice

   which is appended to the Settlement Agreement as Exhibit A. The Court APPROVES

   the form and content of the Class Notice finding that it fairly and adequately: (1) describes

   the terms and effect of the Settlement Agreement and of the Settlement; (2) gives notice

   to the Settlement Class of the time and place of the Final Fairness Hearing; and (3)



                                            Page 5 of 10
Case 0:22-cv-61147-WPD Document 100 Entered on FLSD Docket 10/24/2024 Page 6 of 10




   describes how the recipients of the Class Notice may object to approval of the Settlement.

   The Parties have proposed the following manner of communicating the notice to

   Members of the Settlement Class, and the Court finds that such proposed manner is

   adequate, and directs that Plaintiffs shall:

          (a)    By no later than 90 days before the Final Fairness Hearing, cause the Class
                 Notice, with such non-substantive modifications thereto as may be agreed
                 upon by the Parties, to be disseminated to the last known address of each
                 Member of the Settlement Class who can be identified by reasonable effort.

          (b)    By no later than 90 days before the Final Fairness Hearing, cause the Class
                 Notice, with such non-substantive modifications thereto as may be agreed
                 upon by the Parties, to be disseminated to the last known e-mail address of
                 each Member of the Settlement Class who can be identified by reasonable
                 effort.

          (c)    By no later than 90 days before the Final Fairness Hearing, cause the Class
                 Notice, with such non-substantive modifications thereto as may be agreed
                 upon by the Parties, to be electronically published on a website maintained
                 by the Settlement Administrator.

          At or before the Final Fairness Hearing, Class Counsel shall file with the Court

   proof of timely compliance with the foregoing mailing and publication requirements.

          Objections to Settlement. “Objector” shall mean any Member of the Settlement

   Class who wishes to object to the fairness, reasonableness or adequacy of the Settlement,

   to the Plan of Allocation, to any term of the Settlement Agreement, or to the proposed

   award of attorney fees and expenses. Any Objector must file with the Court a statement

   of his, her, or its objection(s), specifying the reason(s), if any, for each such objection

   made, including any legal support and/or evidence that such Objector wishes to bring to

   the Court’s attention or introduce in support of such objection. Any objection must be

   signed by the Settlement Class member. The Objector must also mail the objection and


                                             Page 6 of 10
Case 0:22-cv-61147-WPD Document 100 Entered on FLSD Docket 10/24/2024 Page 7 of 10




   all supporting law and/or evidence to counsel for the Parties, as stated below. The

   addresses for filing objections with the Court and service on counsel are as follows:

    COURT CLERK                PLAINTIFFS’ COUNSEL                 DEFENDANTS’
    U.S. District Court        Brandon J. Hill                     COUNSEL
    299 E. Broward             Wenzel Fenton Cabassa, P.A.         Howard Shapiro
    Blvd.,                     1110 N. Florida Avenue,             Jackson Lewis P.C.
    Fort Lauderdale,           Suite 300                           601 Poydras St.
    Florida 33301              Tampa, FL 33602                     Suite 1400
                                                                   New Orleans, LA 70130
                               Michael C. McKay
                               McKay Law, LLC
                               5635 N. Scottsdale Road,
                               Suite 117
                               Scottsdale, AZ 85250



          The Objector, or, if represented by counsel, his, her, or its counsel, must both effect

   service of the objection on counsel listed above and file the objection with the Court at

   least thirty (30) calendar days prior to the Final Fairness Hearing, or by no later than

   January 31, 2025. Any Member of the Settlement Class or other person who does not

   timely file and serve a written objection complying with the terms of this paragraph shall

   be deemed to have waived, and shall be foreclosed from raising, any objection to the

   Settlement and any untimely objection shall be barred.

          Appearance at Final Fairness Hearing. An Objector who files and serves a

   timely, written objection in accordance with the paragraph above may also appear at the

   Fairness Hearing either in person or through counsel retained at the Objector’s expense.

   Objectors or their attorneys intending to appear at the Final Fairness Hearing must effect

   service of a “Notice of Intention to Appear” setting forth, among other things, the name,



                                            Page 7 of 10
Case 0:22-cv-61147-WPD Document 100 Entered on FLSD Docket 10/24/2024 Page 8 of 10




   address, and telephone number of the Objector (and, if applicable, the name, address, and

   telephone number of the Objector’s attorney) on counsel identified above and file it with

   the Court at least fifteen (15) calendar days prior to the Final Fairness Hearing, or by no

   later than February 13, 2025. Any Objector who does not timely file and serve a “Notice

   of Intention to Appear” in accordance with this paragraph shall not be permitted to appear

   at the Final Fairness Hearing, except for good cause shown. The Parties’ counsel shall

   promptly furnish each other with copies of any and all objections that come into their

   possession.

           Response to Objectors. The Parties shall respond to any Objector at least seven

   (7) calendar days prior to the Final Fairness Hearing, or by no later than February 21,

   2025.

           Compliance with Class Action Fairness Act. Defendant shall, on or before ten

   (10) calendar days prior to the Final Fairness Hearing, file with the Court proof of

   compliance with the Class Action Fairness Act of 2005, as specified in 28 U.S.C. § 1715

   and paragraph 2.5 of the Settlement Agreement.

           Notice Expenses. Reasonable expenses of effectuating Class Notice shall be paid

   out of the Gross Settlement Amount.

           Fees and Expenses Incurred by the Independent Fiduciary and Settlement

   Administrator. The Court understands that the Plan’s fiduciaries have retained or will

   retain an Independent Fiduciary for the purpose of evaluating the Settlement to determine

   whether to authorize the Settlement on behalf of the Plan. All costs of the Independent

   Fiduciary shall be paid from the Gross Settlement Amount, subject to a cap of $25,000.


                                           Page 8 of 10
Case 0:22-cv-61147-WPD Document 100 Entered on FLSD Docket 10/24/2024 Page 9 of 10




   The Court understands that the expenses incurred by the Settlement Administrator in

   administering the Settlement and allocating the Settlement Fund pursuant to the Plan of

   Allocation approved by the Court shall be paid out of the Gross Settlement Amount.


   Application for Attorneys’ Fees. Any application by Class Counsel for attorneys’ fees

   and reimbursement of expenses, and all papers in support thereof, shall be filed with the

   Court and served on all counsel of record at least forty-five (45) calendar days prior to

   the Final Fairness Hearing.

         Motion for Final Approval of Settlement and Plan of Allocation. Class Counsel

   shall file with the Court a motion for entry of the Final Approval Order and approval of

   the Plan of Allocation at least forty-five (45) calendar days prior to the Final Fairness

   Hearing.

         Injunction. Pending final determination of whether the Settlement should be

   approved, all Members of the Settlement Class and the Plan are each hereby BARRED

   AND ENJOINED from instituting or prosecuting any action that asserts any Released

   Claim against any Releasees.

         Termination of Settlement. If the Settlement is terminated in accordance with the

   Stipulation of Settlement or does not become Final under the terms of the Stipulation of

   Settlement for any other reason, this Order shall become null and void, and shall be

   without prejudice to the rights of the Parties, all of whom shall be restored to their

   respective positions existing immediately before this Court entered this Order.

         Use of Order. In the event this Order becomes of no force or effect, no part of it



                                           Page 9 of 10
Case 0:22-cv-61147-WPD Document 100 Entered on FLSD Docket 10/24/2024 Page 10 of 10




    shall be construed or used as an admission, concession, or declaration by or against

    Defendant of any fault, wrongdoing, breach, or liability, nor shall the Order be construed

    or used as an admission, concession, or declaration by or against Plaintiff or the

    Settlement Class that their claims lack merit or that the relief requested in the Action is

    inappropriate, improper, or unavailable, or as a waiver by any party of any defenses or

    claims he, she, or it may have.

           Continuance of Hearing. The Court reserves the right to continue the Fairness

    Hearing without further written notice.


           DONE AND ORDERED in Chambers in Fort Lauderdale, Florida this 24th day

    of October 2024.




    Copies to:

    Counsel of record




                                              Page 10 of 10
